     Case 2:17-cv-04171-SM-MBN                 Document 23           Filed 05/23/17        Page 1 of 17




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 LOUISIANA HEALTH SERVICE &                                                        CIVIL ACTION
 INDEMNITY COMPANY, ET AL.,
     Plaintiffs

 VERSUS                                                                            NO. 17-4171

 CENTER FOR RESTORATIVE                                                            SECTION: “E” (5)
 BREAST SURGERY, LLC, ET AL.,
     Defendants

                                      ORDER AND REASONS

        Before the Court is a motion for preliminary and permanent injunctive relief filed

by Louisiana Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield of

Louisiana and HMO Louisiana, Inc. (“Blue Cross Louisiana”). 1 The motion is opposed. 2

For the following reasons, the motion is GRANTED IN PART and DENIED IN PART.

                                            BACKGROUND

        This Court’s lengthy history with this matter began when, on April 6, 2010, the

Center for Restorative Breast Surgery, L.L.C. and St. Charles Surgical Hospital, filed suit

in the Civil District Court for the Parish of Orleans, State of Louisiana. Blue Cross

Louisiana removed the case to this Court on April 12, 2011 (“Blue Cross I”). 3

        The members of the Center for Restorative Breast Surgery, L.L.C. (“Center”) are

surgeons who perform post-mastectomy breast reconstruction medical services. 4 The St.

Charles Surgical Hospital (“Hospital”) is a specialty surgical center where the physicians

affiliated with the Center perform the surgeries. 5 The Center and the Hospital are out-of-


1 R. Doc. 8.
2 R. Doc. 13.
3 Center For Restorative Breast Surgery, L.L.C. et al v. Blue Cross Blue Shield of Louisiana et al., Civil

Action Number 11-806, R. Doc. 1.
4 Blue Cross I, R. Doc. 308 at ¶ 83.
5 Id. at ¶ 91. The Court will refer to the Center and the Hospital collectively as “the Blue Cross I Plaintiffs.”


                                                       1
     Case 2:17-cv-04171-SM-MBN                 Document 23          Filed 05/23/17        Page 2 of 17




network healthcare providers with respect to all Blue Cross I defendants. The Blue Cross

I Plaintiffs provided services to patients covered under insurance policies issued or

administered by various Blue Cross defendants. 6

         Final judgment was entered in Blue Cross I on March 31, 2017, 7 and the Blue Cross

I Plaintiffs filed an appeal on April 21, 2017. 8

         On February 3, 2017, the Blue Cross I Plaintiffs filed suit in the Civil District Court

for the Parish of Orleans, State of Louisiana, against Blue Cross Louisiana (“Blue Cross

II”). 9 The Blue Cross I Plaintiffs make claims in Blue Cross II on four counts: (1) breach

of contract; (2) detrimental reliance; (3) negligent misrepresentation; and (4) fraud.

         On April 28, 2017, Blue Cross Louisiana filed suit in this Court against the Blue

Cross I Plaintiffs under the All Writs Act 10 and the Anti-Injunction Act. 11 Blue Cross

Louisiana seeks an injunction against the litigation filed by the Blue Cross I Plaintiffs in

Blue Cross II.

                                        LAW AND ANALYSIS

    I.       Jurisdiction

         Ancillary jurisdiction attaches to Blue Cross Louisiana’s action for injunctive relief

if this Court had jurisdiction over Blue Cross I. 12 “[A] federal district court can exercise

ancillary jurisdiction over a second action in order to secure or preserve the fruits and



6 Id. at ¶ 92; R. Doc. 458-1 at 9.
7 Blue Cross I, R. Doc. 731.
8 Blue Cross I, R. Doc. 746.
9 St. Charles Surgical Hospital, LLC, et al. v. Louisiana Health Service & Indemnity Company d/b/a Blue

Cross and Blue Shield of Louisiana, Civil District Court for the Parish of New Orleans, State of Louisiana,
Docket No. 2017-01095.
10 28 U.S.C. § 1651.
11 28 U.S.C. § 2283; R. Doc. 1.
12 Regions Bank of Louisiana v. Rivet, 224 F.3d 483, 493 (5th Cir. 2000) (“[J]urisdiction is based on the

original case . . . . It is not necessary for the district court to have jurisdiction over the second suit as an
original action.”).

                                                       2
     Case 2:17-cv-04171-SM-MBN                 Document 23         Filed 05/23/17        Page 3 of 17




advantages of a judgment or decree rendered by that court in a prior action.” 13 In Blue

Cross I, this Court had federal question subject matter jurisdiction over the Blue Cross I

Plaintiffs’ claims arising under ERISA, and supplemental jurisdiction over the Blue Cross

I Plaintiffs’ state-law claims. Accordingly, the Court had jurisdiction over the original

federal proceeding, and has ancillary jurisdiction over the instant action.

    II.      The Relitigation Exception of the Anti-Injunction Act

          Under the Anti-Injunction Act, “[a] court of the United States may not grant an

injunction to stay proceedings in a State court except as expressly authorized by Act of

Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate its

judgments.” 14 The exceptions are to be interpreted narrowly and are “not to be enlarged

by loose statutory construction.” 15 Further, “[a]ny doubts as to the propriety of a federal

injunction against state court proceedings should be resolved in favor of permitting the

state courts to proceed in an orderly fashion to finally determine the controversy.” 16

          Blue Cross Louisiana argues the last of the three exceptions—the “relitigation

exception”—applies in this case, contending the doctrines of res judicata and collateral

estoppel apply. The relitigation exception permits an injunction to prevent state litigation

of a claim or issue “that was previously presented to and decided by the federal court.” 17

The exception is “founded in the well-recognized concepts of res judicata and collateral

estoppel,” but is “strict and narrow,” requiring that “the claims or issues which the federal

injunction insulates from litigation in state proceedings actually have been decided by the


13 Royal Ins. Co. v. Quinn–L Capital Corp., 960 F.2d 1286, 1292 (5th Cir. 1992) (noting that jurisdiction

exists “even where the federal district court would not have jurisdiction over the second action if it had been
brought as an original suit”).
14 28 U.S.C. § 2283.
15 Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 146 (1988) (citations omitted).
16 Zurich Am. Ins. Co. v. Superior Court for State of California, 326 F.3d 816, 824 (7th Cir. 2002).
17 Chick Kam Choo, 486 U.S. at 147.


                                                      3
     Case 2:17-cv-04171-SM-MBN                 Document 23          Filed 05/23/17        Page 4 of 17




federal court.” 18 A federal district court is permitted, but not mandated, to enjoin

duplicative state court proceedings. 19

         The Fifth Circuit employs a four-part test to determine whether the relitigation

exception is applicable when urged on the basis of res judicata or collateral estoppel: 20

         (1) The parties in the later action must be identical to (or at least in privity
             with) the parties in a prior action;

         (2) The judgment in the prior action must have been rendered by a court of
             competent jurisdiction;

         (3) The prior action must have concluded with a final judgment on the
            merits; and

         (4) The same claim or cause of action must be involved in both suits. 21

         At issue in this matter is the fourth prong—whether both suits involve the same

claims or causes of action. 22 The relitigation exception requires that the claims or issues

the federal injunction seeks to insulate from litigation in state proceedings “actually have

been decided by the federal court.” 23 The Fifth Circuit employs a “transactional test,”

“asking whether the two claims are based on the same nucleus of operative fact.” 24 “In



18 Id.
19 Id. at 151.
20 Courts are beginning to address the broad “res judicata” phrase as referring to both claim preclusion and

issue preclusion. See 18A CHARLES A. WRIGHT & ARTHUR D. MILLER, FEDERAL PRACTICE AND PROCEDURE §
4402 (3d ed. 2012); see also St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d 425, 436 (5th Cir. 2000)
(“The rules of res judicata encompass two separate but linked preclusive doctrines: (1) true res judicata or
claim preclusion and (2) collateral estoppel or issue preclusion.”).
21 N.Y. Life Ins. Co. v. Gillispie, 203 F.3d 384, 387 (5th Cir. 2000).
22 The Blue Cross I Plaintiffs do not dispute that all the parties in Blue Cross II are parties in Blue Cross I,

that this Court had jurisdiction to issue its judgment in Blue Cross I, or that Blue Cross I ended with a final
judgment on the merits. See Blue Cross I, R. Doc. 731. Although the Blue Cross I Plaintiffs have filed a notice
of appeal, the Court’s judgment remains final for the purposes of res judicata. Comer v. Murphy Oil USA,
Inc., 718 F.3d 460, 467 (5th Cir. 2013) (citing 18A CHARLES A. WRIGHT & ARTHUR D. MILLER, FEDERAL
PRACTICE AND PROCEDURE § 4427 (2d ed. 2012) (“[R]es judicata ordinarily attaches to a final lower-court
judgment even though an appeal has been taken and remains undecided.”)).
23 Chick Kam Choo, 486 U.S. at 148.
24 Blanchard 1986, LTD v. Park Plantation, LLC, 553 F.3d 405, 408 n.12 (5th Cir. 2008) (citing Gillispie,

203 F.3d at 387; Assurance Co. of Am. v. Kirkland, 312 F.3d 186, 189 n.8 (5th Cir. 2002)); Vines v. Univ.
of La. at Monroe, 398 F.3d 700, 709 (5th Cir. 2005).

                                                       4
     Case 2:17-cv-04171-SM-MBN                 Document 23        Filed 05/23/17        Page 5 of 17




evaluating the res judicata effect of a prior claim on a subsequent one, the transactional

test does not inquire whether the same evidence has been presented in support of the two

claims, but rather asks whether the same key facts are at issue in both of them. 25 The

Fifth Circuit has held that the preclusive effect of the transactional test “potentially

extends beyond claims actually litigated to claims that could have been litigated.” 26 In

this case, however, the issue of whether the claims for breach of oral contract, detrimental

reliance, negligent misrepresentation, and fraud made in Blue Cross II were actually

litigated or could have been litigated in Blue Cross I is irrelevant. 27 Three out of four of

these claims were actually decided in Blue Cross I, and the fourth, fraud, was voluntarily

dismissed. 28

        “In determining which issues have been actually litigated, the federal court is free

to go beyond the judgment and may examine the pleadings and the evidence in the prior

action. If a question of fact is put in issue by the pleadings, is submitted to the jury or

other trier of facts for its determination, and is determined, then that question of fact has

been actually litigated.” 29 As explained below, the Blue Cross I Plaintiffs’ claims in Blue

Cross II for breach of contract, detrimental reliance, and negligent misrepresentation

have been actually decided by this Court in Blue Cross I. As a result, the fourth prong of



25 Gillispie, 203 F.3d at 387 (emphasis in original).
26 Blanchard, 553 F.3d at 408 n.12 (emphasis added).
27 On November 12, 2014, the Court allowed the Blue Cross I Plaintiffs to file their Fifth Amended

Complaint. The Court stated “After the fifth amended complaint has been filed, the only new claimants who
may be added to the complaint are ones whose claims do not raise new causes of action and whose claims
are against Defendants currently named or added in the fifth amended complaint.” R. Doc. 304. The Court
did not preclude the Blue Cross I Plaintiffs from seeking additional damages for services provided to
patients based on existing causes of action, such as breach of oral contract, detrimental reliance, negligent
misrepresentation, or fraud. In Blue Cross II, the Blue Cross I Plaintiffs seek damages acts that occurred
“from April 12, 2011 to through the present,” based on the same causes of action decided in Blue Cross I.
28 The Blue Cross I Plaintiffs’ assertion that Blue Cross II “excludes any claims and causes of action that

were presented and actually decided in [Blue Cross I]” does not resolve the issues presented to this Court.
29 St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d 425, 448 (5th Cir. 2000) (citing Santopadre v. Pelican

Homestead & Sav. Ass’n, 937 F.2d 268, 273 (5th Cir. 1991)).

                                                        5
     Case 2:17-cv-04171-SM-MBN                    Document 23       Filed 05/23/17        Page 6 of 17




the Fifth Circuit’s four-part test is satisfied, and the relitigation exception is applicable to

these three claims or causes of action. The Court must now determine the appropriate

scope of injunctive relief.

    III.      The Blue Cross I Plaintiffs’ Claims in Blue Cross II

           The Blue Cross I Plaintiffs filed a petition in Blue Cross II, alleging Blue Cross

Louisiana failed to “pay [the Blue Cross I] Plaintiffs an appropriate amount of money for

medical services provided by [the Blue Cross I] Plaintiffs, which Defendants agreed to

pay.” 30 The Blue Cross I Plaintiffs further allege “Defendants required that [the Blue Cross

I] Plaintiffs verify Defendants’ agreement or offer to pay, and the percentage of the bill

Defendants would pay by referring to Defendants’ web portal, iLinkBlue.” 31 The Blue

Cross I Plaintiffs allege their claims arise out of the statements made on verification

telephone calls made to Blue Cross Louisiana and representations made on Blue Cross

Louisiana’s web portal, iLinkBlue. 32 The Blue Cross I Plaintiffs’ claims in Blue Cross II

consist of four counts: (1) breach of contract; (2) detrimental reliance; (3) negligent

misrepresentation; and (4) fraud. 33

              a. Breach of Contract

           In Blue Cross II, the Blue Cross I Plaintiffs allege contracts were formed between

them and Blue Cross Louisiana. 34 The Blue Cross I Plaintiffs allege these contracts were

formed when “Defendants communicate[d] to [the Blue Cross I] Plaintiffs the percentage


30 See R. Doc. 8-5 at 1, ¶ 1.
31 Id. at 3, ¶ 18.
32 See, e.g., id. at 6, ¶¶ 38(C), 38(E), 38(J).
33 R. Doc. 8-5. The Court is aware the Blue Cross I Plaintiffs have filed a motion for leave to file their first

amended petition in Blue Cross II. The amended petition, however, does nothing to materially change the
arguments presented to this Court for the purposes of Blue Cross Louisiana’s request for injunctive relief.
As a result, the Court will reference the Blue Cross I Plaintiffs’ original petition. R. Doc. 8-5.
34 R. Doc. 8-5 at 5, ¶ 38 (“Once an offer is made, consent to a contract need not be expressed in words, but

may be implied by actions of the parties, as it was here each and every time from April 12, 2011 through the
present.”).

                                                       6
     Case 2:17-cv-04171-SM-MBN               Document 23   Filed 05/23/17   Page 7 of 17




of [the Blue Cross I] Plaintiffs’ medical bill Defendants agree[d] to pay for services

rendered to Defendants’ customers over the telephone, and then through iLinkBlue.” 35

The Blue Cross I Plaintiffs further allege “Defendants wrote to [the Blue Cross I] Plaintiffs,

expressly instructing [the Blue Cross I] Plaintiffs to refer to the iLinkBlue web portal for

any information [the Blue Cross I] Plaintiffs sought from Defendants relating to monetary

payments” 36 and “[the Blue Cross I] Plaintiffs verified Defendants’ offer and terms

through telephone calls, and thereafter, through viewing the offers on Defendants’

iLinkBlue website.” 37

         In Blue Cross I, the Fifth Amended Complaint alleged “[t]hrough [] verifications

and pre-authorization of the procedures, the respective Defendants and [the Blue Cross

I] Plaintiffs entered into bilateral onerous commutative oral contracts whereby [the Blue

Cross I] Plaintiffs would provide their agreed upon covered and pre-authorized services

at a predetermined rate that reflect the benefits provided by their subscribers’ respective

plans.” 38 The Blue Cross I Plaintiffs further alleged “[s]aid oral contracts created through

the verification of benefits process were made directly with the respective Blue Cross

Defendants, creating an independent legal duty on the part of said Defendants to tender

the represented percentage to the Center and Hospital, based on the representation.” 39

         The Court granted summary judgment in Blue Cross I with respect to the Blue

Cross I Plaintiffs’ breach of oral contract claim, finding the Blue Cross I Plaintiffs failed

to introduce evidence of corroborating circumstances sufficient to establish an oral




35 Id. at ¶ 38(C).
36 Id. at ¶ 38(D).
37 Id. at ¶ 38(E).
38 Blue Cross I, R. Doc. 308 at ¶ 224 (emphasis added).
39 Id. at ¶ 225.


                                                    7
     Case 2:17-cv-04171-SM-MBN                 Document 23         Filed 05/23/17        Page 8 of 17




contract worth over $500. 40 The Court has actually decided that the Blue Cross I Plaintiffs

may not recover for breach of oral contract worth over $500 based on the verification of

benefits process.

        It is unclear whether the Blue Cross I Plaintiffs’ allegations in Blue Cross II relate

to oral contracts, written contracts, or both. 41 To the extent the Blue Cross I Plaintiffs seek

to recover for breach of oral contract worth over $500 based on the verification of benefits

process, such a cause of action has been actually decided by this Court. To the extent the

Blue Cross I Plaintiffs make a claim for breach of oral contract in Blue Cross II, that claim

arises out of the same nucleus of operative fact as their claim in Blue Cross I. As a result,

the Blue Cross I Plaintiffs are enjoined from pursuing any claim in Blue Cross II relating

to an oral contract worth over $500 between them and Blue Cross Louisiana based on the

verification of benefits process.

            b. Detrimental Reliance

        In Blue Cross II, the Blue Cross I Plaintiffs allege “Defendants communicated to

[the Blue Cross I] Plaintiffs via telephone and iLinkBlue web portal that Defendants

agreed or offered to pay for . . . medical services” and “[the Blue Cross I] Plaintiffs

reasonably relied, to their detriment, on representations and statements made by

Defendants as to the existence and extent of Defendants’ offer or agreement to pay for



40 Blue Cross I, R. Doc. 566. Louisiana Civil Code article 1846 requires that, when the plaintiff alleges the

existence of an oral contract of which “the price or value is in excess of five hundred dollars, the contract
must be proved by at least one witness and other corroborating circumstances.” LA. CIV. CODE art. 1846; see
also Suire v. Lafayette City-Par. Consol. Gov’t, 2004-1459 (La. 4/12/05), 907 So. 2d 37, 58. The other
corroboration must come from a source other than the plaintiff, and it may not result from the plaintiff’s
own actions. Id.; Kilpatrick v. Kilpatrick, 27,241 (La. App. 2 Cir. 8/23/95), 660 So. 2d 182, 185, writ denied,
95-2579 (La. 12/15/95), 664 So. 2d 444. The Blue Cross I Plaintiffs do not dispute that the value of the
alleged oral contracts exceeded $500. Blue Cross I, R. Doc. 566 at 27.
41 The Plaintiff’s petition in Blue Cross II states “Plaintiffs relied upon, and were entitled to rely upon, to

their detriment, Defendants’ web portal and other statements made by Defendants, whether oral or
otherwise, regarding Defendants’ agreement or offer to pay . . . .” R. Doc. 8-5 at 3, ¶ 23.

                                                      8
     Case 2:17-cv-04171-SM-MBN               Document 23   Filed 05/23/17   Page 9 of 17




[the Blue Cross I] Plaintiffs’ provision of medical services to Defendants’ customers.” 42

         In the Fifth Amended Complaint in Blue Cross I, the Blue Cross I Plaintiffs allege

they “contacted the respective Defendant and with that Defendant’s authorization

received a representation that the proposed services were covered and preauthorized and

that in exchange for said services, reimbursement . . . would be forthcoming.” 43 The Blue

Cross I Plaintiffs allege they detrimentally relied on these representations because they

“based their decisions to provide [] services on Defendants’ representations of

payment.” 44

         The Court granted summary judgment in Blue Cross I on the Blue Cross I Plaintiffs’

detrimental reliance claim. 45 The Court found there was no representation—and therefore

could be no detrimental reliance—for those patients for whom the Blue Cross I Plaintiffs

did not attempt to verify the eligibility and benefits by a telephone verification call or

visiting the iLinkBlue web portal. 46 Similarly, the Court found Blue Cross Louisiana made

no promise to pay a certain amount for services rendered by the Blue Cross I Plaintiffs on

iLinkBlue, as the verification page contains no claim-specific payment information, and

as a result there was no representation and there could be no detrimental reliance. 47 With

respect to any patient for whom the Blue Cross I Plaintiffs made a verification telephone

call to Blue Cross Louisiana, the Court found the Blue Cross I Plaintiffs could not have

reasonably relied upon the representations made in the calls because disclaimers saying

there was “no guarantee of payment” were played at the beginning of each call, and the



42 R. Doc. 8-5 at 8, ¶ 42.
43 Blue Cross I, R. Doc. 308 at 28, ¶ 210.
44 Id. at ¶ 215.
45 Blue Cross I, R. Doc. 585.
46 Id. at 20.
47 Id. at 21.


                                                 9
    Case 2:17-cv-04171-SM-MBN           Document 23       Filed 05/23/17    Page 10 of 17




Blue Cross I Plaintiffs did not request further assurance or clarification about the amount

of the allowable charge. 48 Because the Court has actually decided that the Blue Cross I

Plaintiffs cannot recover under this theory, and the Blue Cross I Plaintiffs’ claims in Blue

Cross II arise from the same nucleus of operative fact as their claims in Blue Cross I, the

Blue Cross I Plaintiffs are enjoined from pursuing any claims under the theory of

detrimental reliance for which: (1) there was no attempt to verify the patient’s eligibility

and benefits through a verification telephone call or visit to the iLinkBlue website; (2)

there was an attempt to verify the patient’s eligibility and benefits through iLinkBlue, but

the verification page did not provide the amount the insurer will pay for a specific

procedure; or (3) there was an attempt to verify the patient’s eligibility and benefits

through a verification telephone call, but a disclaimer stating there was “no guarantee of

payment” was played at the beginning of the call, and the Blue Cross I Plaintiffs did not

request further assurance or clarification about the amount of the allowable charge.

                c. Negligent Misrepresentation

         In Blue Cross II, the Blue Cross I Plaintiffs allege Blue Cross Louisiana has “a legal

duty to supply correct information regarding the existence and extent to which

Defendants have agreed or offered to pay to the Blue Cross I Plaintiffs for the provision

of medical services.” 49 The Blue Cross I Plaintiffs further allege in Blue Cross II they

“relied, to their detriment, on representations and statements made by Defendants as to

the existence and extent of payment by Defendants for [the Blue Cross I] Plaintiffs’

provision of medical services to Defendants’ customers.” 50 The Blue Cross I Plaintiffs

allege these representations were made on Blue Cross Louisiana’s web portal, iLinkBlue,


48 Id. at 22.
49 R. Doc. 8-5 at 10, ¶ 62.
50 Id. at ¶ 61.


                                                 10
    Case 2:17-cv-04171-SM-MBN                Document 23         Filed 05/23/17        Page 11 of 17




or, presumably, through verification telephone calls. 51

        In the Fifth Amended Complaint in Blue Cross I, the Blue Cross I Plaintiffs alleged

“Defendants breached [their] duty to [the Blue Cross I] Plaintiffs directly by providing

misleading information about the benefits to be paid after authorizing the procedure to

be performed.” 52 In their oppositions to the motions for summary judgment, the Blue

Cross I Plaintiffs made clear that the alleged misrepresentations occurred on the

verification telephone calls and the iLinkBlue coverage summaries. 53

        In an order issued on September 19, 2016, the Court granted summary judgment

in Blue Cross I on the Blue Cross I Plaintiffs’ negligent misrepresentation claim to the

extent the Blue Cross I Plaintiffs made no attempt to verify a patient’s coverage and

benefits. 54 The Court also granted summary judgment to the extent the Blue Cross I

Plaintiffs verified eligibility through iLinkBlue, finding the coverage summaries on

iLinkBlue did not state the allowable amount or any other procedure-specific

information, and therefore no representation with respect to the allowable amount was

made. 55

        On March 31, 2017, the Court granted summary judgment on the Blue Cross I

Plaintiffs’ negligent misrepresentation claim to the extent a verification telephone call was




51 Id. at ¶ 18 (“Defendants required that Plaintiffs verify Defendants’ agreement or offer to pay, and the

percentage of the bill Defendants would pay be referring to Defendants’ web portal, iLinkBlue.”); id. at ¶ 19
(“Defendants’ statements regarding what Defendants agreed or offered to pay and percentage of payment
as stated on the web portal or otherwise, constitute affirmative representations regarding payment . . . .”);
id. at ¶ 20 (“With iLinkBlue . . . Defendants communicated to Plaintiffs before Plaintiffs provided medical
services . . . .”); id. at ¶ 23 (“Plaintiffs relied upon, and were entitled to rely upon, to their detriment,
Defendants’ web portal and other statements made by Defendants, whether oral or otherwise, regarding
Defendants’ agreement or offer to pay . . . .”).
52 Blue Cross I, R. Doc. 308 at 62, ¶ 236.
53 See R. Docs. 567, 716, 729.
54 Blue Cross I, R. Doc. 585 at 25.
55 Id. at 25–26.


                                                     11
    Case 2:17-cv-04171-SM-MBN                Document 23         Filed 05/23/17        Page 12 of 17




made with respect to damages for the remaining patients, 56 because any representations

made on the verification telephone calls were not the cause-in-fact of the Blue Cross I

Plaintiffs’ treatment or billing decisions. 57 Further, the Court found any representations

made on the verification telephone calls were not the legal cause of the Blue Cross I

Plaintiffs’ harm because Blue Cross Louisiana was not asked for the allowable amount

and could not have foreseen that its not giving the Blue Cross I Plaintiffs the allowable

amount would cause the Blue Cross I Plaintiffs harm with respect to their billing and

treatment decisions. 58

        Because the Court has actually decided that the Blue Cross I Plaintiffs cannot

recover under a theory of negligent misrepresentation, and the Blue Cross I Plaintiffs’

claims in Blue Cross II arise from the same nucleus of operative fact as their claims in

Blue Cross I, the Blue Cross I Plaintiffs are enjoined from pursuing any claims under the

theory of negligent misrepresentation if: (1) there was no attempt to verify the patient’s

eligibility and benefits through a verification telephone call or iLinkBlue; (2) there was an

attempt to verify the patient’s eligibility and benefits through iLinkBlue, but the coverage

summaries did not state the allowable amount or any other procedure-specific

information; or (3) there was an attempt to verify the patient’s eligibility and benefits

through a verification telephone call, and the Blue Cross I Plaintiffs did not ask Blue Cross

Louisiana for the allowable amount.


56 Blue Cross I, R. Doc. 730. The Court held a jury trial on the Blue Cross I Plaintiffs’ negligent

misrepresentation cause of action with respect to damages relating to seven “bellwether” patients who were
treated by the Blue Cross I Plaintiffs. The jury found in favor of the defendants. See Blue Cross I, R. Doc.
701. The testimony presented at trial, however, applied to the Blue Cross I Plaintiffs’ negligent
misrepresentation cause of action in its entirety, and was not specific to the seven bellwether patients. The
Court relied on this testimony in its ruling on the Defendants’ motion for summary judgment.
57 Blue Cross I, R. Doc. 730.
58 Id. at 19. The Court further found that providing the allowable amount was not within the scope of the

Defendants’ duty, and therefore, not providing the allowable amount could not be a breach of the
Defendants’ duty. Id.

                                                     12
    Case 2:17-cv-04171-SM-MBN                 Document 23          Filed 05/23/17        Page 13 of 17




             d. Fraud

        In Blue Cross II, the Blue Cross I Plaintiffs allege “Defendants made

representations to [the Blue Cross I] Plaintiffs by inviting [them] to verify the terms of

Defendants’ offer or agreement to pay through viewing Defendants’ web portal,

iLinkBlue, and by providing information on Defendants’ iLinkBlue web portal, and

making statements orally and otherwise to [the Blue Cross I] Plaintiffs,” Plaintiff relied

upon these representations, and “Defendants intended to deceive [the Blue Cross I]

Plaintiffs with Defendants’ misrepresentations.” 59

        In the Fifth Amended Complaint in Blue Cross I, the Blue Cross I Plaintiffs alleged

Blue Cross Louisiana’s representations “made by telephone or through computer

generated information” were “fraudulent because the allowed amount that was actually

used to calculate the payments was not that which complied with the definitions included

in the Plan and were known by Defendants to be misleading.” 60

        The Blue Cross I Plaintiffs voluntarily dismissed with prejudice their fraud claim

in Blue Cross I on October 22, 2015. 61 Voluntary dismissals with prejudice ordinarily are

“deemed a final adjudication on the merits for res judicata purposes on the claims

asserted or which could have been asserted in the suit.” 62 “To have a preclusive effect on

specific issues or facts, however, a voluntary dismissal also must be accompanied by

specific findings sufficient for a subsequent court to conclude that certain matters are




59 R. Doc. 8-5, at 9, ¶¶ 49–51.
60 Blue Cross I, R. Doc. 308 at 64, ¶¶ 246–47.
61 Blue Cross I, R. Docs. 449, 450 (“After a thorough review of the law, facts, and record related to the

allegation, the Blue Cross I Plaintiffs believe that it is in the best interest of fairness and judicial economy
to dismiss with prejudice Count VIII of the Fifth Amended Complaint.”).
62 Motrade v. Rizozaan, Inc., No. 95-6545, 1998 WL 10813, at *5 (S.D.N.Y. Mar. 11, 1998) (quoting Israel

v. Carpenter, 120 F.3d 361, 365 (2d Cir. 1997)).

                                                      13
    Case 2:17-cv-04171-SM-MBN                 Document 23          Filed 05/23/17        Page 14 of 17




actually decided.” 63

        The Court did not issue findings when it granted the Blue Cross I Plaintiffs’ motion

to voluntarily dismiss the Plaintiff’s fraud claim. 64 As a result, the Blue Cross I Plaintiffs’

voluntary dismissal of their fraud claim has no preclusive effect, and the Court will not

enjoin the Blue Cross I Plaintiffs from pursuing a fraud claim in Blue Cross II.

        The Court has closely tailored its injunctive relief to apply only to those issues

decided in its rulings on Blue Cross Louisiana’s motions for summary judgment in Blue

Cross I. 65 This injunction does not prevent the Blue Cross I Plaintiffs from pursuing in

state court any claims that may exist against Blue Cross Louisiana that fall outside of the

issues decided by this Court.

                                             CONCLUSION

        IT IS ORDERED that Blue Cross Louisiana’s motion for preliminary and

permanent injunctive relief pursuant to 28 U.S.C. § 2283 with respect to the Blue Cross I

Plaintiffs’ claims for breach of oral contract, detrimental reliance, negligent

misrepresentation, and fraud is GRANTED IN PART and DENIED IN PART.

        IT IS FURTHER ORDERED that the Center for Restorative Breast Surgery,

L.L.C. and St. Charles Surgical Hospital are enjoined from making claims related to the

provision of medical services to patients insured by Anthem Blue Cross and Blue Shield

of Ohio, Anthem Blue Cross and Blue Shield of Virginia, Anthem BlueCross BlueShield of


63 Id. (citing Schenk v. Mine Mgmt. Co., 1997 WL 31400, *7 (N.D.N.Y. Jan. 23, 1997) (“Dismissals with

prejudice unaccompanied by findings have no preclusive effect.”)); see also Rose v. Bourne, 172 F. Supp.
536 (S.D.N.Y. 1959) (“[W]ithout findings, the actual or potential determination of the issues in the
dismissed suit will not be effective by way of collateral estoppel on the decision of other causes of action.”).
64 See Blue Cross I, R. Doc. 450. The order on the Blue Cross I Plaintiffs’ motion stated “Considering the

above and foregoing motion, it is hereby ordered that the Blue Cross I Plaintiffs’ Ex Parte Motion to Dismiss
Count VIII of the Fifth Amended Complaint with prejudice is hereby granted.” Id.
65 See Liberty Mut. Ins. Co. v. Gunderson, 387 Fed. App’x 480, 487 (5th Cir. 2010) (upholding the grant of

injunctive relief under the relitigation exception because “the district court closely tailored its injunctive
relief to apply only to those issues decided in the partial summary judgment”).

                                                      14
   Case 2:17-cv-04171-SM-MBN         Document 23      Filed 05/23/17    Page 15 of 17




California, Anthem BlueCross BlueShield of Colorado, Anthem BlueCross BlueShield of

Connecticut, Anthem BlueCross BlueShield of Kentucky, Anthem BlueCross BlueShield

of Maine, Anthem BlueCross BlueShield of Mississippi, Anthem BlueCross BlueShield of

Nevada, Anthem BlueCross BlueShield of Wisconsin, Anthem Health Plans of Maine,

Inc., Anthem Health Plans of Virginia, Inc., Anthem Health Plans, Inc., Anthem Plans of

Maine, Inc., BCBSM, Inc., Blue Cross & Blue Shield of Illinois, Blue Cross & Blue Shield

of Mississippi, Blue Cross and Blue Shield of Alabama, Blue Cross and Blue Shield of

Florida, Blue Cross and Blue Shield of Nebraska, Inc., Blue Cross and Blue Shield of North

Carolina, Blue Cross and Blue Shield of Oklahoma, Blue Cross and Blue Shield of

Tennessee, Blue Cross and Blue Shield of Texas, Blue Cross Blue Shield CareFirst, Blue

Cross Blue Shield Federal, Blue Cross Blue Shield Hawaii Medical Service Association,

Blue Cross Blue Shield of Connecticut, Blue Cross Blue Shield of Hawaii, Blue Cross Blue

Shield of Idaho, Blue Cross Blue Shield of Illinois, Blue Cross Blue Shield of Kentucky,

Blue Cross Blue Shield of Massachusetts, Blue Cross Blue Shield of New York, Blue Cross

of California, BlueCross BlueShield of Arkansas, BlueCross BlueShield of California,

BlueCross BlueShield of California Directors Guild of America, BlueCross BlueShield of

Colorado, BlueCross BlueShield of Delaware, BlueCross BlueShield of Georgia, BlueCross

BlueShield of Hawaii, BlueCross BlueShield of Idaho, BlueCross BlueShield of Indiana,

BlueCross BlueShield of Iowa, BlueCross BlueShield of Kentucky, BlueCross BlueShield

of Louisiana Office of Group Benefits, BlueCross BlueShield of Maine, BlueCross

BlueShield of Maryland, BlueCross BlueShield of Massachusetts, BlueCross BlueShield of

Michigan, BlueCross BlueShield of Minnesota, BlueCross BlueShield of Missouri,

BlueCross BlueShield of Montana, BlueCross BlueShield of New Jersey, BlueCross

BlueShield of New Mexico, BlueCross BlueShield of New York, BlueCross BlueShield of

                                           15
   Case 2:17-cv-04171-SM-MBN         Document 23      Filed 05/23/17    Page 16 of 17




Rochester, New York, BlueCross BlueShield of Western New York, BlueCross BlueShield

of North Carolina, BlueCross BlueShield of Ohio, BlueCross BlueShield of Oregon,

BlueCross BlueShield of Pennsylvania, BlueCross BlueShield of Rhode Island, BlueCross

BlueShield of South Carolina, BlueCross BlueShield of Tennessee, BlueCross BlueShield

of Utah, BlueCross BlueShield of Vermont, BlueCross BlueShield of Virginia, BlueCross

BlueShield of West Virginia, BlueCross BlueShield of Mountain West Virginia, BlueCross

BlueShield of Washington, CareFirst BlueCross BlueShield of Maryland, Community

Insurance Company, Empire BlueCross BlueShield of New York, Federal BlueCross

BlueShield, HighMark Blue Shield, Highmark BlueCross BlueShield of Pennsylvania,

Highmark BlueCross BlueShield of West Virginia, Highmark Inc, Horizon BlueCross

BlueShield of New Jersey, Keystone Health Plan East BlueCross BlueShield of

Pennsylvania, Louisiana Health Service & Indemnity Company, Premera Blue Cross,

Premera BlueCross BlueShield of Washington, Regence Blue Shield, Regence BlueCross

BlueShield of Oregon, Regence BlueCross BlueShield of Utah, Regence BlueCross

BlueShield of Washington, Wellmark BlueCross BlueShield of Iowa, or Wellmark, Inc. for

the following claims:

   1. Any claim for breach of oral contract the value of which exceeds $500 in which
      they allege an oral contract existed by virtue of telecommunication and/or
      accessing the iLinkBlue web portal;

   2. Any claim under the theory of detrimental reliance for which: (1) there was no
      attempt to verify the patient’s eligibility and benefits through a verification
      telephone call or iLinkBlue; (2) there was an attempt to verify the patient’s
      eligibility and benefits through iLinkBlue, but the verification page did not provide
      the amount the insurer will pay for a specific procedure; or (3) there was an
      attempt to verify the patient’s eligibility and benefits through a verification
      telephone call, but a disclaimer stating there was “no guarantee of payment” was
      played at the beginning of the call, and the Blue Cross I Plaintiffs did not request
      further assurance or clarification about the amount of the allowable charge; and

   3. Any claim under the theory of negligent misrepresentation for which: (1) there was

                                            16
   Case 2:17-cv-04171-SM-MBN        Document 23       Filed 05/23/17    Page 17 of 17




      no attempt to verify the patient’s eligibility and benefits through a verification
      telephone call or iLinkBlue; (2) there was an attempt to verify the patient’s
      eligibility and benefits through iLinkBlue but the coverage summaries did not state
      the allowable amount or any other procedure-specific information; or (3) there was
      an attempt to verify the patient’s eligibility and benefits through a verification
      telephone call, but the Blue Cross I Plaintiffs did not ask Blue Cross Louisiana for
      the allowable amount.

      IT IS FURTHER ORDERED that Blue Cross Louisiana’s motion for preliminary

and permanent injunctive relief pursuant to 28 U.S.C. § 2283 with respect to the Blue

Cross I Plaintiffs’ fraud claim is DENIED.

       New Orleans, Louisiana, this 23rd day of May, 2017.


                    _______________________ ________
                             SUSIE MORGAN
                      UNITED STATES DISTRICT JUDGE




                                             17
